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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                      SOUTHEASTERN DIVISION

                                                          §        Chapter 11
 In re:                                                   §
                                                          §        Case No. 20-43597-399
 BRIGGS & STRATTON                                        §
 CORPORATION, et al.,                                     §        (Jointly Administered)
                                                          §
                     Debtors.                             §        Related Docket No. 1511

                             ORDER APPROVING COMPROMISE
                           AND SETTLEMENT OF SEARS HOLDING
                        CORPORATION AND ITS DEBTOR AFFILIATES’
                     CLAIM AGAINST BRIGGS & STRATTON CORPORATION

            Upon the motion (the “Motion”)1 of Briggs & Stratton Corporation and its affiliated

 debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession (collectively,

 the “Debtors”), for entry of an order pursuant to Bankruptcy Rule 9019(a), authorizing and

 approving the settlement agreement entered into on December 8, 2020 by and between Briggs &

 Stratton Corporation (“Briggs”) and Sears Holding Corporation and its debtor affiliates (“Sears”,

 and such agreement, the “Settlement Agreement”), as more fully set forth in the Motion; and this

 Court having jurisdiction to consider the Motion and the relief requested therein pursuant to 28

 U.S.C. §§ 157 and 1334; and consideration of the Motion and the requested relief being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that venue is proper before this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409; and the Debtors having represented that adequate and

 proper notice of the Motion has been given and that no other or further notice need be given; and

 this Court having reviewed the Motion; and this Court having held a hearing to consider the relief

 requested in the Motion; and this Court having determined that the legal and factual bases set forth

 in the Motion establish just cause for the relief granted herein; and it appearing that the relief


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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
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 requested in the Motion is in the best interests of the Debtors and their respective estates and

 creditors; and upon all of the proceedings had before this Court and after due deliberation and

 sufficient cause appearing therefor, it is hereby ORDERED that the Motion is GRANTED in

 that:

         1.     The Settlement Agreement attached hereto as Exhibit A is hereby approved

 pursuant to Bankruptcy Rule 9019.

         2.     The Debtors are further authorized, but not directed, to enter into, perform, execute,

 and deliver all documents, and take all actions necessary to immediately continue and fully

 implement the Settlement Agreement in accordance with the terms, conditions, and agreements

 set forth in the Settlement Agreement.

         3.     Sears is hereby granted an allowed general unsecured claim in the amount of

 $200,000.00 against Briggs in accordance with the terms and conditions of the Settlement

 Agreement.

         4.     Nothing contained in the Motion or this Order or any payment made pursuant to

 the authority granted by this Order is intended to be or shall be deemed as (i) an admission as to

 the validity of any claim against the Debtors, or (ii) a waiver or limitation of the Debtors’ rights

 under the Bankruptcy Code or any other applicable nonbankruptcy law.

         5.     Notwithstanding the provisions of Bankruptcy Rule 6004(h), this Order shall be

 immediately effective and enforceable upon its entry.

         6.     The Debtors are authorized to take all actions necessary or appropriate to carry out

 the relief granted in this Order.




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         7.       Not later than two (2) business days after the date of this Order, the Debtors shall

 serve a copy of the Order and shall file a certificate of service no later than twenty-four (24) hours

 after service.

 DATED: January 22, 2021
 St. Louis, Missouri                                         Barry S. Schermer
 cke                                                         United States Bankruptcy Judge




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                                     Exhibit A
                               Settlement Agreement
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